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SPRT, LLC
P|aintiff,

V.

82 NETWORKS, |NC., B2 TECHNOLOG|ES, |NC.,

& ONE MED|A CORP, |NC.

Defendants.

Civil Action No. 5:10-cv-809-FJS-DEP

ST|PULAT|ON OF DlSM|SSAL

 

 

PLEASE TAKE NOT|CE that pursuant to Rule 41(a)(‘l)(A)(ii) of the Federal Rules of

Civil Procedure, Plaintiff SPRT, LLC, and Defendants 32 Networks, |nc., B2 Techno|ogiesl lnc.

and ONE Media Corp, |nc., hereby stipulate to the dismissal, with prejudice, of all claims

pending in this action on the basis of a settlement between parties. Each party will bear its

own costs and attorney's fees.
Respectfu||y submitted,
Dated: November 1, 2012

s/James R. Muldoon
James R. Muldoon (506772)
Ted H. Williams (102830)
HARR|S BEACH PLLC
333 West Washington Street, Suite 200
Syracuse, New York 13202
Telephone: (315) 423-7100
Facsimile: (315) 422-9331

Attorneys for Plaintiff SPRT, LLC

256472 1916514\11

S/ Jim E. Bullock

Jim E. Bullock (pro hac vice, 516512)

Brian Casper (pm hac vice, 517419)
CHR|ST|ANSEN DAVlS BULLOCK LLC
4100 Spring Valley, Suite 450
Dallas, Texas 75244

Telephone: (214) 838-3501
Facsimile: (972) 332-2306

- and-

John D. Cook (511491)
HlSCOCK & BARCLA¥, LLP
300 South State Street
Syracuse, New York 13202
Telephone: (315) 425-2885

Attomeys for Defendants BZNetworks, lnc.,
82 Technologies, lnc. and ONE Media Corp, Inc.

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SO ORDERED.
Syracuse, New York

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November _9;, 2012

 
  

    
    

l-lon. Frederick J. scullin, Jr.
Senior U.S. District Court Judge

By:

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